
57 F. Supp. 2d 108 (1999)
UNITED STATES of America
v.
Frank SERAFINI.
No. 3:CR-97-0225.
United States District Court, M.D. Pennsylvania.
June 23, 1999.
*109 *110 *111 Bruce Brandler, Asst. U.S. Atty., Harrisburg, PA, for plaintiff.
Sal Cognetti, Dan Breyer, Scranton, PA, for defendant.

MEMORANDUM
VANASKIE, District Judge.
Presently pending before the Court is a "Jury Questionnaire" proposed on behalf of defendant Frank Serafini, a state legislator who stands accused of committing perjury in connection with an investigation into alleged illegal contributions to candidates for political office. The proposed questionnaire, a copy of which is attached hereto, contains 140 separately numbered questions. The government has submitted objections to a number of the questions.
Consistent with the obligation of the trial judge to superintend the jury selection process, see Mu'Min v. Virginia, 500 U.S. 415, 423, 111 S. Ct. 1899, 114 L. Ed. 2d 493 (1991), I have carefully reviewed the 140 separate questions for purposes of determining whether the inquiries are appropriate, considering the purposes of the questioning process and the privacy interests of prospective jurors. I have concluded that a number of questions will not be included in the questionnaire that will be sent to prospective jurors in advance of jury selection.[1] Set forth herein are my reasons for not allowing certain questions to be asked of prospective jurors.

DISCUSSION
The questioning of jurors that occurs in the voir dire process "serves the dual purposes of enabling the court to select an impartial jury and assisting counsel in exercising peremptory challenges." Mu'Min, 500 U.S. at 431, 111 S. Ct. 1899. It is the responsibility of the trial court to ascertain whether a prospective juror is biased. See Dennis v. United States, 339 U.S. 162, 168, 70 S. Ct. 519, 94 L. Ed. 734 (1950). Wide latitude has been accorded federal judges in determining what questions may be asked in an attempt to reveal bias. United States v. Padilla-Valenzuela, 896 F. Supp. 968, 970 (D.Ariz.1995). As stated in Rosales-Lopez v. United States, 451 U.S. 182, 189, 101 S. Ct. 1629, 68 L. Ed. 2d 22 (1981):
Because the obligation to empanel an impartial jury lies in the first instance with the trial judge, and because he must rely largely on his immediate perceptions, federal judges have been accorded ample discretion in determining how best to conduct the voir dire.
Whether to allow written questionnaires to be submitted to prospective jurors in advance of the jury selection date, and the content of any such questionnaire, falls within the wide discretion accorded to the trial court in conducting voir dire. Juror questionnaires may serve as a better vehicle to unearth bias than oral questioning in court and may also expedite the jury *112 selection process. In addition to searching for evidence of actual bias, the trial lawyer may seek to use the questionnaire to obtain information to aid jury consultants to compile profiles on prospective jurors for purposes of identifying those prospective jurors more likely to favor the side of the party retaining the consultant. The questionnaire may thus contain a number of inquiries into intensely personal matters that have nothing to do with discovering actual bias. In addition, the questionnaire may also be intended to condition the jury to a party's particular viewpoint.
The Sixth Amendment guarantees a "right to ... trial by an impartial jury ...", but does not accord the right to either the prosecution or the defense "to have voir dire conducted in such a way as to mold the jury in a way that the jury will be receptive to counsel's case." Padilla-Valenzuela, 896 F.Supp. at 972. As stated in Schlinsky v. United States, 379 F.2d 735, 738 (1st Cir.), cert. denied, 389 U.S. 920, 88 S. Ct. 236, 19 L. Ed. 2d 265 (1967):
[T]he purpose of the voir dire is to ascertain disqualifications, not to afford individual analysis in depth to permit a party to choose a jury that fits into some mold that [counsel] believes appropriate for [counsel's] case.
It is the trial court's responsibility to ensure that the voir dire is not an overly intrusive inquiry into the private affairs of prospective jurors for the purposes of obtaining personality profiles or molding "the jury in a way that the jury will be receptive to counsel's case." Padilla-Valenzuela, 896 F.Supp. at 972. In performing this responsibility, the trial court must balance the right of the parties to engage in a meaningful inquiry against the prospective juror's right of privacy. As explained by Judge Gawthrop in United States v. McDade, 929 F. Supp. 815, 817-818 (E.D.Pa.1996):
[The prospective jurors'] privacy rights  `to be let alone'  are not, of course, absolute. Their jury service does expose them to some searching inquiry as to such matters as their ability to be fair, their absence of preconceived, fixed opinions. But there must be some balance, some drawing the line, and when hard-charging counsel are in hot pursuit of every little empirical nugget they get their eyes on, it is the trial judge who must, sua sponte, reign them in and give the jurors some protection.
In other words, an intrusion into the prospective jurors' personal and private thoughts is warranted when a question has great probative value with respect to the issues in the case or the ability of the prospective juror to be fair, unburdened by strongly-held opinions. But as the connection between the voir dire question and matters of actual bias or fairmindedness becomes attenuated, the intrusion into the prospective juror's personal and private thoughts cannot be sanctioned. And when the inquiry has no obvious relevance to actual bias or fair-mindedness, the inquiry should be disallowed.
The comprehensive questionnaire submitted on behalf of defendant Frank Serafini in this case runs the gamut from the highly relevant and probative to the marginally pertinent and minimally probative questions. Falling in this latter category are a host of questions that will be disallowed.
Specifically, question number 1, which asks where the prospective juror was born and where the prospective jurors' parents were born has no connection between actual bias or the ability to be fair. So too is the inquiry into race and ethnic background set forth in question number 2. Race, of course, can be a legitimate area of inquiry in a case where race may be a factor. See Aldridge v. United States, 283 U.S. 308, 51 S. Ct. 470, 75 L. Ed. 1054 (1931). But race need not be an inquiry in every case, especially where, as here, it is not a factor. See Rosales-Lopez v. United States, 451 U.S. 182, 101 S. Ct. 1629, 68 L. Ed. 2d 22 (1981). Question 2, therefore, will not be allowed.
*113 Nor will I allow question 4, which concerns the current marital status of the prospective juror. Marital status is not an issue in this case, and has no obvious connection to the ability to be fair and open.
While inquiries into health conditions are pertinent to determine the ability of a juror to listen attentively as testimony is presented, question 6, which requires the juror to state the nature of any health problem, and question 9, which inquires concerning medication being taken by a prospective juror, are too intrusive. In other words, they are not limited to ascertaining conditions or medications that would affect the ability of a prospective juror to sit. See McDade, 929 F.Supp. at 817. Less intrusive inquiries that seek to determine whether a juror has some condition or takes some medication that would impair the ability of the juror to sit for long periods of time and focus on oral presentations can be made during the incourt voir dire session. Accordingly, questions six and nine will be disallowed.
Whether a juror is registered to vote, his or her political party affiliation, and political philosophy, as asked in questions 10, 84, 89, 98, 99 and 101, have no pertinence to a juror's qualification to be fair and impartial in this case. The ability to be fair has no direct linkage to political party affiliation or active participation in the political process. Thus, these questions will be disallowed. See United States v. Goland, 959 F.2d 1449, 1454 (9th Cir. 1992), cert. denied, 507 U.S. 960, 113 S. Ct. 1384, 122 L. Ed. 2d 759 (1993).
So too will question 15, which asks whether the prospective juror has ever bought or owned stock. Neither stock ownership nor wealth has any discernable link with fairness and open-mindedness. It has been recognized that a court need not allow questioning "about speculated bias against the wealthy." United States v. Hirschberg, 988 F.2d 1509, 1514 (7th Cir.), cert. denied, 510 U.S. 918, 114 S. Ct. 311, 126 L. Ed. 2d 258 (1993). Thus, in addition to question 15, I will also strike questions 118 through 120, which concern perceptions about wealth.
Whether a juror, a member of its family or a close friend[2] had any experience with or special training in the areas of accounting, banking, law, law enforcement and environmental sciences will be disallowed. Accounting and banking have no direct pertinence here. There are other questions that deal with experience in the law (e.g., 18), law enforcement (e.g., 48) or environmental matters (e.g., 86).
Question 22 asks the prospective juror to indicate whether the prospective juror's annual income (or, if married, joint income) falls within certain enumerated categories. As did Judge Gawthrop in the McDade case, I find this inquiry "offensively intrusive." McDade, 929 F.Supp. at 818. Once again, a prospective juror's income level has no discernable link with the issues in this case or the ability to be fair.
Questions 29 through 31, which inquire concerning a person's religious convictions, have no place in this case. "[W]hen religion is unrelated to the issue at trial it is not a proper subject for inquiry." Brandborg v. Lucas, 891 F. Supp. 352, 358 (E.D.Tex.1995). Accordingly, these questions will be disallowed.[3]
*114 Question 32, which inquires whether the prospective juror, a close friend, or any member of the prospective juror's family ever sought employment with any of a number of governmental units and agencies, is far too broad. Accordingly, it will be disallowed. In this regard, there are more general inquiries, such as question 33, which asks whether you or any member of your immediate family ever sought employment with the United States government or the Commonwealth of Pennsylvania, which adequately cover the subject matter.
Whether the prospective juror, a family member, or a close friend ever held a United States government security clearance is not pertinent to this case. Accordingly, question 34 will not be permitted.
Questions 56 and 57, which inquire concerning prospective jurors' favorite television shows and whether they watch certain specifically mentioned programs, such as 60 Minutes, have no evident link with fairness and are overly intrusive. Questions 65 and 66 (asking the jurors to list the newspapers and magazines they read), 67 (asking the jurors how often they watch news on television), 90 (inquiring about a juror's leisure time interests and activities), 91 through 93 (asking jurors to identify any book they are currently reading, the last three books they have read, and their three favorite magazines), 94 (asking the juror to indicate whether he or she is a loner, leader, follower or "other"), and 95 (asking whether the juror has any bumper stickers on his or her vehicle) are also far too intrusive given the marginal pertinence they may have in ferreting out actual bias or the ability to be fair and open minded. In this regard, I fully endorse the following statement of Judge Gawthrop in the McDade case:
I happen to believe that the United States Department of Justice, and defense counsel, have no business knowing what book a juror is currently reading, presumably within the quiet confines of his or her own home  or wherever, for that matter. Neither may they properly inventory the jurors' bookshelves and magazine racks, nor scrutinize their library cards. Whatever marginal insights trial lawyers and their jury consultants may gain from this information is markedly outweighed by concerns Orwellian. When one comes into court to serve as a juror, one gives up plenty: time, freedom, and the usual right to read, hear and see the news  to name but a few of the sacrifices. But to be subjected to such inquiries as those here would be to give up more than is necessary for the proper and fair administration of justice. The lawyers may certainly ask whether jurors have read or heard about the defendant or any lawyer or witness involved in the case, or anything about the case. Should the answer be `yes', they shall be permitted full follow up questioning with individual voir dire. But whether they watch Sixty Minutes or Dateline or Nightline or Bay Watch for that matter, as fascinating as some might find these snippets of information to be, sheds no real light on whether they have formed a fixed opinion as to what the verdict in this yetuntried case would be, or whether they would approach it with even a hint of bias.
929 F.Supp. at 819.
Also beyond the pale are questions that seek to determine whether a prospective juror belongs to some civic, social, religious, charitable, volunteer, professional or business organization and, if so, whether the juror has held some elected position in that group or organization (Nos. 82 and 85); is part of group that lobbies or takes positions on public issues (No. 96); or is "politically active" (No. 100). To reiterate, these questions are not reasonably calculated to discern actual bias or ability to be fair minded. Accordingly, they are not appropriate inquiries.
In addition to having the authority to "limit voir dire when the parties seek *115 information too remote from the issues in the case ...," Brandborg, 891 F.Supp. at 361, the trial court has the authority to screen the interrogatories for purposes of determining whether they are unfairly phrased, seek improperly to condition the jury to a party's perspective, or are redundant. The questionnaire in this case includes questions falling within each of these categories.
For example, question 35, which asks whether the prospective juror believes that the testimony of a law enforcement officer is more or less likely to be truthful than the testimony of some other witness, is patently unfair. It does not admit of an answer that the testimony is neither to be more likely nor less likely truthful than some other witness. Accordingly, it will be stricken. Also falling in the realm of unfair questions are No. 63 (asking whether the juror would believe what he or she heard in court or would wonder why it was different from what she or he had read or heard outside of court); No. 70 (asking whether an opinion has been formed as to the way this case has been handled by the United States government, implying that there has been something improper in the processing of this case); Nos. 108 and 117 (suggesting that a person in the public spotlight or a politician does not receive the same treatment as a member of the public at large); and No. 134 (asking for a yes or no answer to the compound question of whether the prospective juror has any impression, opinion or belief "that would lead you to believe the defendant is guilty or innocent?").
Question 122 sought to determine whether any prospective juror would be acquainted with potential government witnesses. The government has objected to disclosing its witnesses in advance of trial. Because the government is unwilling to disclose its witnesses in advance of jury selection, the question of whether the prospective jurors are acquainted with any of the prospective witnesses will be asked during oral voir dire.
A number of questions call for open ended answers on matters covered by other, more precise questions that call for yes or no answers. The open ended questions (Nos. 58 through 61, 77, 78, 88, 105 through 108, 110, 111 through 113, 128, 133 and 140) will be disallowed.
Finally, there are a number of questions that concern a juror's understanding of the criminal justice system. To eliminate redundancies, questions 72 through 77, 80, 81, 82 and 133 will be stricken.[4]

CONCLUSION
Juror questionnaires, when properly phrased and limited, can significantly facilitate the jury selection process. In many respects, the questionnaire proposed on behalf of defendant Frank Serafini serves these laudable goals. There are, however, a number of impermissible and improper questions. For the reasons stated above, *116 the impermissible and improper questions will be stricken, and a revised questionnaire will be sent to the jury pool suitably in advance of the jury selection date to obtain answers and provide counsel with the jurors' answers.[5]

JURY QUESTIONNAIRE
If you need more space to complete your answer, continue your answer on one of the blank numbered pages provided at the end of this questionnaire. Be sure to indicate on the blank page the number of the question you are answering.
Juror Number: ____ Date: ______
Full Name: ________________________
Sex: Male ___ Female ___ Age: ____
1.   Where were you born? ___________
  a. If you were born some place other
     than the United States, have you
     become a United States citizen and,
     if so, when? ______________________
  b. Were your parents born in the United
     States? If not, in what country
     were they born and when did they
     emigrate to the United States? ___
2.   What is your race or ethnic background?
      Black                      ____
      White                      ____
      Hispanic                   ____
      Asian                      ____
      Other (please specify)     ____
3.   Is English your native language?
      Yes ___      No ___
  a. If no, what is your native language?
     _____________________________________
  b. Do you understand the English language?
     Yes___    No ___
  c. Do you speak the English language?
     Yes___   No___
  d. Do you read the English language?
     Yes___   No___
  e. Do you speak, read, write and/or
     understand any language other than
     English? Yes ___   No ___
  f. If yes, please indicate what other
     language(s): ______________________
4.   What is your current marital status?
     (Circle one)
  a. Married
  b. Separated
  c. Divorced
  d. Widowed
  e. Never Married
5.   If you have children and/or step-children,
     please state the following:
  a. The sex and age of each child: __
  b. If your children and/or step-children
     are employed, the nature of his or
     her employment: __________________
6.   What is the general condition of your
     health? ______________________________
  a. If you have any kind of health problem,
     please state briefly the nature
     of the problem. _______________
7.   What is the general condition of your
     eyesight? _____________________________
  a. Do you wear contact lenses or glasses?
     __________________________
8.   What is the general condition of your
     hearing? ____________________
  a. Do you wear a hearing aid?
      Yes ___   No ___
9.   Do you require regular or frequent
     medication or medical care and attention?
      Yes ___   No ___
  a. If you require regular or frequent
     medication, please describe the nature
     of the medication, its effect
     upon you, and the frequency of taking
     such medication. ____________________
10.  Are you registered to vote?
*117
      Yes ___   No ___
  a. If so, with what political party? __
11.  How long have you lived in Pennsylvania?
     ____________________________
12.  In what county do you currently reside?
     ___________________________
  a. Length of time at current residence:
     ___________________________
  b. How long have you been a resident
     of that county? _______________
  c. Where was your previous residence?
     _________________________________
13.  What city, borough or township do
     you reside in? ______________________
14.  Do you:
     Own a home?                ____
     Rent?                      ____
     Live with relatives
       or friends?              ____
15.  Have you ever bought or owned
     stock?
      Yes ___   No ___
16.  What is the highest grade level that
     you completed in school, including
     any trade or technical school? (Circle
     one)
  7   8   9   10   11   12   College-1   College-2
  College-3    College-4     Post graduate   Other
                             ___years
  a. If you attended school after high
     school, including any trade or vocational
     schools, please describe the
     type of school and your major course
     of study: __________________________
  b. If you attended college, please list
     your field(s) of study and any degree(s)
     you received: ____________
  c. If you attended post graduate
     school, please list your field(s) of
     study and any degree(s) you received:
     ___________________________
17.  If married, what was the highest
     grade level completed by your
     spouse? (Circle one)
  7   8   9   10   11   12   College-1   College-2
  College-3    College-4     Post graduate   Other
                             ___years
  a. If he/she attended school after high
     school, including any trade or vocational
     schools, please describe the
     type of school and the major course
     of study (if you know): ___________
  b. If he/she attended college, please
     list his/her field(s) of study and any
     degree(s) he/she received (if you
     know): _________________________
  c. If he/she attended post graduate
     school, please list his/her field(s) of
     study and any degree(s) he/she received
     (if you know): _______________________
18.  Have you or your spouse ever had
     any legal training, taken any law
     courses, or been employed by a law
     firm?
      Yes ___   No ___
  a. If yes, please explain: _____________
19.  Have you, a relative or a close friend
     ever applied to or worked for a federal,
     state or local governmental entity
     or agency?
      Yes ___   No ___
20.  Have you, any member of your family
     or a close friend had any experience
     with or special training in any
     of the following areas: (Please check
     all that apply)
                                     SOMEONE
                              SELF      CLOSE       NO
Accounting/bookkeeping        ____       ____       ____
Banking                       ____       ____       ____
Law                           ____       ____       ____
Law enforcement               ____       ____       ____
Environmental Sciences        ____       ____       ____
21.  What is your current employment
     status? (Circle all that apply)
  a. Employed full time (over 30 hours
     per week)
  b. Employed part time (5 to 30 hours
     per week)
  c. Unemployed
  d. Retired
  e. Student: part-time/full-time
  f. Homemaker
  g. Disabled
*118
22.  What is your current annual income
     (if married, please indicate joint income):
     Less than $10,000             ____
     $10,000 to $29,999            ____
     $30,000 to $49,999            ____
     $50,000 to $69,999            ____
     $70,000 to $99,999            ____
     Over $100,000                 ____
23.  State your occupation for the last
     five years, beginning with the most
     current. If you are retired or unemployed,
     state the date of your retirement/unemployment
     and indicate
     your occupation for the five years
     preceding your retirement/unemployment.
                              REASON
EMPLOYER   POSITION   DATES   FOR LEAVING
__________________________________________
__________________________________________
__________________________________________
__________________________________________
24.  If you have supervised employees in
     the past, or do so today, indicate the
     number of employees supervised by
     you. ________________________________
25.  If married, what is the employment
     status of your spouse? (Circle all
     that apply)
  a. Employed full time (over 30 hours
     per week)
  b. Employed part time (5 to 30 hours
     per week)
  c. Unemployed
  d. Retired
  e. Student: part-time/full-time
  f. Homemaker
  g. Disabled
26.  If married, state the occupation of
     your spouse for the past five years,
     beginning with the most current employment.
     If he/she is retired or
     unemployed, state the date of his/her
     retirement/unemployment and
     indicate his/her occupation for the
     five years preceding his/her retirement/unemployment.
                              REASON
EMPLOYER   POSITION   DATES   FOR LEAVING
__________________________________________
__________________________________________
__________________________________________
__________________________________________
27.  If you were previously married,
     please state the occupation of your
     previous spouse(s) for the five years
     preceding the termination of the
     marriage (whether terminated by divorce
     or death) if you know.
                              REASON
EMPLOYER   POSITION   DATES   FOR LEAVING
__________________________________________
__________________________________________
__________________________________________
__________________________________________
28.  If you are single and share living
     space with another adult or adults,
     please state the nature of his or her
     employment and level of education.
     _________________________________
29.  Do you consider yourself a religious
     person?
      Yes ___   No ___
30.  Describe any special post or position
     you or your spouse hold at your
     place of worship. _____________________
31.  Would your religious principles affect
     your ability to sit in judgment of
     another or be impartial in deciding
     this case?
      Yes ___   No ___
  a. If yes, please explain: ______________
32.  Have you, a close friend, or any
     member of your family ever sought
     employment, been employed by, or
     associated with any of the following?
     (Please check all that apply and
     indicate who sought or obtained
     such employment, the location of
     employment, and the job position,
     if you know.)
*119
____  United States Senate
____  United States House of Representatives
____  Federal Bureau of Investigation
       (FBI)
____  Central Intelligence Agency (CIA)
____  Drug Enforcement Agency (DEA)
____  National Security Agency (NSA)
____  United States Navy
____  Department of Justice
____  Department of Treasury
____  Defense Intelligence Agency
       (DIA)
____  U.S. Customs Service
____  U.S. Secret Service
____  Internal Revenue Service (IRS)
____  Bureau of Alcohol, Tobacco &amp;
       Firearms
____  U.S. Attorney's Office
____  Public Defender's Office
____  U.S. Court of Appeals
____  Any Probation Department
____  State Attorney's Office
____  State, County or City Law Enforcement
       Agency (Sheriff's Office,
       Police Department, Highway
       Patrol, etc.)
____  Pennsylvania Attorney General's
       Office
____  Commonwealth of Pennsylvania
____  Commonwealth of Pennsylvania
       Senate
____  Commonwealth of Pennsylvania
       House of Representatives
____  Any foreign consulate or embassy
       (specify which consulate or embassy)
       ____________________________________
____  Any court, state or federal (specify
       which court) ______________________
____  Any law firm which represents
       criminal defendants ________
____  Any law firm which represents
       clients in civil litigation ________
____  Security Guard
____  Private Investigation Agency
____  Any television station (specify
       which station) ____________________
____  Any radio station (specify which
       station) __________________________
____  Any newspaper, magazine or journal
       (specify which one) _____________
____  Any political campaign (specify
       which one) ______________________
33.  Have you or any member of your
     immediate family ever sought employment
     with the United States
     Government or the Commonwealth
     of Pennsylvania Government, other
     than the military and the agencies
     listed in Question No. 32?
      Yes ___   No ___
  a. If yes, please state who sought employment,
     the government agency(s),
     and whether or not you or they were
     hired, and if applicable, the approximate
     date of employment. ____
34.  Have you, any member of your family,
     or a close friend ever held a
     United States government security
     clearance in connection with your/his/her
     employment?
      Yes ___   No ___
  a. If yes, state which person had the
     clearance(s) and the employment involved.
     _______________________
35.  Do you believe that the testimony of
     a witness who is a law enforcement
     officer is more or less likely to be
     truthful than the testimony of a civilian
     witness or a criminal defendant?
      More ___   Less ___
  a. Please explain: ________________
36.  Have you or any immediate family
     member ever belonged to a neighborhood
     crime watch program or in
     any way supported a crime stoppers
     group?
      Yes ___   No ___
  a. If yes, what is/was the extent of
     your/his/her participation? ______
37.  Have you, a family member, or a
     close family friend, been a member
     of any militia, paramilitary force, or
     similar organization?
      Yes ___   No ___
  a. If yes, please explain: __________
38.  Have you ever been in court before,
     other than for a minor traffic violation?
      Yes ___   No ___
  a. If yes, what were the circumstances?
     _______________________________________
39.  Have you ever been a witness or
     given a statement in any type of
     legal proceeding?
      Yes ___   No ___
*120
  a. If yes, briefly describe the circumstances.
     __________________________________________
40.  Have you or anyone in your family
     ever been a party to a lawsuit, other
     than a domestic lawsuit?
      Yes ___   No ___
  a. If yes, what type of lawsuit was it
     and what was the disposition? ___
41.  Have you, a close friend, or family
     member ever been accused of,
     charged with or convicted of any
     crime, or been the subject of a criminal
     investigation, other than a minor
     traffic violation?
      Yes ___   No ___
  a. If yes, state who, the date, crime,
     charging authority, and the outcome.
     _____________________________________
  b. Do you feel that you, the friend or
     the family member were justly accused,
     charged, convicted or investigated?
      Yes ___   No ___
  c. If no, please explain: ____________
42.  Have you or any member of your
     immediate family ever been audited
     or had a dispute with any agency or
     department of the United States
     Government (including the IRS, Social
     Security Administration, Veterans
     Administrations, etc.)?
      Yes ___   No ___
  a. If yes, do you think you or your
     family member were treated fairly?
      Yes ___   No ___
  b. If no, please explain: __________
43.  Have you, a member of your family,
     or a close friend ever been the victim
     of or witnessed any crime?
      Yes ___   No ___
  a. If yes, please describe the crime(s)
     and the person involved and which
     person was involved either as a victim
     or witness. __________________________
  b. Was anyone arrested?
      Yes ___   No ___
  c. If there was an arrest, what was the
     outcome? ______________________________
  d. If there was a trial, did you testify?
      Yes ___   No ___
  e. Were you satisfied with the way law
     enforcement handled the matter?
      Yes ___   No ___
  f. If no, please explain: ______________
44.  Have you or a relative or close
     friend ever been falsely accused of a
     crime?
      Yes ___   No ___
  a. If yes, please explain: __________
45.  Do you have any close friends or
     relatives who are lawyers or who
     have attended law school?
      Yes ___   No ___
46.  Are you or do you have any relatives
     or close friends who are judges, law
     clerks, court attendants, clerks or
     part of the court's personnel, probation
     officers, or persons connected
     with any penal institution, jail, correctional
     institution, or penitentiary?
      Yes ___   No ___
  a. If yes, please explain: ____________
47.  Do you have any moral or philosophical
     beliefs that would make it difficult
     for you to sit in judgment of the
     defendant?
      Yes ___   No ___
  a. If yes, please explain: ___________
48.  Have you, a close friend, a spouse or
     a relative ever had any training in
     law enforcement?
      Yes ___   No ___
  a. If yes, please state who received the
     training and what kind of training it
     was. _________________________________
49.  Have you or any member of your
     family ever been in the United
     States military (including the military
     reserves, National Guard or
     ROTC)?
      Yes ___   No ___
*121
  a. If yes, who, what branch, rank and
     date of service, if you know. ___
  b. Were you ever in the military police
     or shore patrol?
      Yes ___   No ___
  c. Have you ever had a military disciplinary
     action taken against you?
      Yes ___   No ___
  d. If yes, please explain the nature and
     result of the disciplinary action.
     _________________________________
  e. If yes, did you receive an honorable
     discharge? _______________________
50.  Have you, a family member, or a
     friend ever served on an Grand Jury
     before?
      Yes ___   No ___
  a. If yes, were you your family member,
     or friend a member of the
     Grand Jury that handed down the
     indictment in this case or investigated
     any individual(s) mentioned anywhere
     else in this questionnaire?
      Yes ___   No ___
51.  Have you ever served on a jury before?
      Yes ___   No ___
  (For each time you have sat on jury,
  please indicate the type of case, when
  you served, whether a verdict was
  reached, and, if no verdict was reached,
  the reason. Please do NOT state the
  verdict):
    Example:  civil-car accident   1984   yes
    Example:  criminal-robbery     1986   no-deadlocked
    Example:  civil-malpractice    1992   no-case settled
TYPE OF CASE  YEAR  VERDICT REACHED  (YES OR NO)
______________________________________________
______________________________________________
______________________________________________
52.  If you have served on a jury before,
     is there anything about your past
     service that would make it difficult
     for you to sit as a juror in this case?
      Yes ___   No ___
  a. If yes, please explain: __________
53.  Have you ever heard of the defendant
     in this case, State Representative
     Frank Serafini?
      Yes ___   No ___
54.  If you have heard of or read anything
     about this case, please indicate
     where you heard of or read about
     this case: (Check all that apply)
     T.V. News                               ___
     Radio News                              ___
     Newspapers                              ___
     Magazines                               ___
     Conversations                           ___
     Books                                   ___
     Heard other people discussing the case  ___
  a. If yes, please indicate what you read
     or heard: _______________________________
55.  If you checked T.V. News, Radio
     News, Newspapers, Magazines or
     Books, please indicate below in
     which of these materials you saw or
     heard about this case and how often
     you saw references to this case.
     (Check all that apply)
                            Regularly   Sometimes   Seldom   Never
The Scranton Times            ____       ____        ____    ____
The Scranton Tribune          ____       ____        ____    ____
The Sunday Times              ____       ____        ____    ____
The Times Leader              ____       ____        ____    ____
The Citizens Voice            ____       ____        ____    ____
The Patriot News              ____       ____        ____    ____
The Philadelphia Inquirer     ____       ____        ____    ____
Other Newspaper               ____       ____        ____    ____
If other newspaper, please specify: ___________________________
Channel 22 News (CBS)         ____       ____        ____    ____
Channel 28 News (NBC)         ____       ____        ____    ____
Channel 16 News (ABC)         ____       ____        ____    ____
Other T.V. News               ____       ____        ____    ____
If other T.V. news, please specify: _____________________________
Talk show radio A.M.          ____       ____        ____    ____
Any other news sources not listed: ______________________________
56.  What are your three favorite television
     shows? __________________________________
57.  Do you watch any of the following
     programs? (Check all that apply)
        60 Minutes         ____
        20/20              ____
        Nightline          ____
        Dateline           ____
        Law &amp; Order        ____
        Current Affair     ____
        Other news/business/entertainment shows
        (specify): ____________________________
58.  What are your opinions of the criminal
     justice system? __________
59.  Has your opinion of the criminal justice
     system changed due to the President
     Clinton impeachment trial?
      Yes ___   No ___
  a. Please explain: ___________________
*122
60.  What is your general opinion regarding
     lawyers? _______________
61.  Do you view differently, say, prosecutors
     from criminal defense lawyers?
      Yes ___   No ___
  a. Please explain: ____________________
62.  Have you followed any criminal trials
     over the past five years?
      Yes ___   No ___
  a. If yes, please tell us which trials:
     _______________________________________
63.  If you heard something in the courtroom
     that was different from something
     you read in the newspaper or
     heard on the news, would you believe
     what you heard in court or
     would you wonder why it was different
     from what you read or heard?
     ___________________________
64.  As a result of what you have seen,
     heard, read or discussed about this
     case, have you formed an opinion as
     to the innocence or guilt of the defendant?
      Yes ___   No ___
  a. If yes, what opinion have you
     formed and in what is it based?
     ______________________________
65.  List the newspapers and magazines
     you read. Indicate how frequently
     you read them.
NAME     REGULARLY    OCCASIONALLY    RARELY
____________________________________________
____________________________________________
____________________________________________
____________________________________________
66.  Do you subscribe to The Scranton
     Times, The Scranton Tribune or The
     Sunday Times?
      Yes ___   No ___
  a. If yes, please identify all papers that
     you subscribe to: ____________________
67.  How often do you watch the news on
     television? _________________________
68.  If you know or have ever heard or
     read about any of the following attorneys
     or federal agents involved in
     this case, place a check mark next to
     each person you know or have heard
     or read about.
        ____  Salvatore Cognetti, Esq.
        ____  Bruce D. Brandler, Esq.
        ____  Deryck Bratton
        ____  Daniel T. Brier, Esq.
        ____  David Barasch, Esq.
        ____  Donna A. Walsh, Esq.
69.  In the event that you have heard or
     read anything about one or more of
     the attorneys in this case, would
     what you have heard or read in any
     way influence your verdict in this
     case?
      Yes ___   No ___
  a. If yes, please explain: ____________
70.  As a result of what you have seen,
     read, heard or discussed about this
     case, have you formed an opinion
     about the way in which this case has
     been handled by the United States
     Government?
      Yes ___   No ___
  a. If yes, what opinion have you
     formed and on what is it based?
     _____________________________
71.  Do you have any feelings about lawyers
     in general, prosecutors, or
     criminal defense attorneys that
     would prevent you from being fair
     and impartial?
      Yes ___   No ___
72.  Do you understand that an indictment
     is nothing more than a document
     from the government alleging
     wrongdoing that is not evidence?
      Yes ___   No ___
73.  Do you understand that the Government
     has the burden of proving
     their case beyond a reasonable
     doubt, and the defendant need not
     prove anything to be found not
     guilty?
      Yes ___   No ___
74.  Do you understand that a person
     charged with a crime does not have
     to testify in his or her own defense?
      Yes ___   No ___
*123
75.  Do you believe that just because
     someone is charged with a crime,
     there must be something to it? In
     other words, "where there's smoke
     there's fire"?
      Yes ___   No ___
  a. If yes, please explain: __________
76.  In considering the testimony of a
     witness, would you take into account
     whether the witness had received
     any benefit (reduced sentence, dismissal
     of charges, immunity from
     prosecution) in exchange for testimony
     against the defendant?
      Yes ___   No ___
  a. Please explain: __________
77.  How do you feel about the practice
     in which a prosecutor gives benefits
     (reduced sentence, dismissal of
     charges, immunity from prosecution)
     to one person, in exchange for testimony
     against another person? ___
78.  Do you believe that a person
     charged with a crime would say anything
     to save themselves?
      Yes ___   No ___
  a. If yes, please explain: ___________
79.  Do you believe that the Government
     can and does make mistakes in
     charging people with crimes?
  Yes___ No___ Occasionally___
  Frequently___ Never___
80.  Please state your personal belief regarding
     each statement:
  a. "A defendant is innocent until proven
     guilty beyond a reasonable
     doubt."
      Strongly agree             ____
      Agree                      ____
      Strongly disagree          ____
      Disagree                   ____
      No opinion                 ____
  b. "If the prosecution goes through the
     trouble of bringing someone to trial,
     the person is probably guilty."
      Strongly agree             ____
      Agree                      ____
      Strongly disagree          ____
      Disagree                   ____
      No opinion                 ____
  c. "Regardless of what the law says, a
     defendant in a criminal trial should
     be required to prove his or her innocence."
      Strongly agree             ____
      Agree                      ____
      Strongly disagree          ____
      Disagree                   ____
      No opinion                 ____
81.  Do you believe that a defendant in a
     criminal case should testify or produce
     some evidence to prove that he
     or she is not guilty?
      Yes ___   No ___
  a. If yes, please explain: __________
82.  Have you ever held any type of
     elected position for any type of
     group or organization?
      Yes ___   No ___
  a. If yes, please list the group and
     position and describe the overall experience:
     ____________________________
83.  Have you ever contributed time,
     money or services to any political
     campaign or cause?
      Yes ___   No ___
  a. If yes, please explain: __________
  In addition, please list all of the political
  campaigns to which you have contributed
  money and identify how much, on
  average, you contribute to political campaigns
  each year. ______________________
84.  What political party or political organizations
     do you belong to? ____
85.  What civic, social, religious, charitable,
     volunteer, professional or business
     organizations do you or your
     spouse belong to? __________
  a. Do you or your spouse currently
     hold an office in any of these organizations?
      Yes ___   No ___
*124
  b. If yes, please indicate the office(s)
     held and the responsibilities of that
     office: ___________________________
86.  Do you or any family member or
     friend belong to any environmental
     or conservation organization?
      Yes ___   No ___
  a. If yes, please explain: __________
87.  Have you or any family member
     been associated with or financially
     supportive of any of the following:
      Ecologia                                          ____
      Throop Property Owners Association                ____
      Audobon Society                                   ____
      Green Peace                                       ____
      Sierra Club                                       ____
      Citizens Alert Regarding Environment (CARE)       ____
      Environmental Defense Fund                        ____
      Lackawanna River Corridor Association             ____
      Keyser Valley Community Association               ____
      Earth Justice                                     ____
      The Nature Conservancy                            ____
      Pocono Environmental Education Center             ____
      River Watch                                       ____
      River Heritage Association                        ____
      Countyside Conservancy                            ____
88.  What are your personal opinions, if
     any, concerning landfills or waste
     disposal sites? ______________________
89.  In terms of your political beliefs, do
     you consider yourself to be:
      Very conservative          ____
      Somewhat conservative      ____
      Moderate                   ____
      Somewhat liberal           ____
      Very liberal               ____
90.  What are your leisure time interests
     and activities? ________________________
91.  Are you currently reading a book?
      Yes ___   No ___
  a. If yes, what is the title of the book.
     ________________________________________
92.  What were the last three books you
     read? __________________________________
93.  What are your three favorite magazines?
     _______________________________________
94.  How would you best describe yourself?
     (Circle one)
  a. Loner
  b. Leader
  c. Follower
  e. Other
95.  Do you have any bumper stickers on
     your vehicle?
      Yes ___   No ___
96.  Have you or has any family member
     or close friend ever been part of a
     group that lobbies or takes public
     positions on issues?
      Yes ___   No ___
  a. If yes, please explain: ___________
97.  Does your employer operate a Political
     Action Committee (PAC)?
      Yes ___   No ___
  a. If yes, do you contribute to this
     PAC?
  Regularly___ Sometimes___ Rarely___
98.  Did you vote in any of the national
     elections of the past twenty years?
      Yes ___   No ___
  a. If yes, please list the election years
     in which you voted: ______________
99.  Did you vote in any local elections of
     the past twenty years?
      Yes ___   No ___
  a. If yes, please list the election years
     in which you voted and where: __
100. Other than as a voter, are you politically
     active?
      Yes ___   No ___
  a. If yes, please explain: ___________
101. Do you consider yourself to be a:
      Democrat           ____
      Republican         ____
      Independent        ____
      Libertarian        ____
      Other party
      member:            ____   Specify: _________
102. Have you been active in the campaign
     of any candidate(s) for elective
     office in any Federal, Pennsylvania,
     or other state or local government?
      Yes ___   No ___
  a. If yes, please explain: ________
103. Have you or anyone close to you
     ever run for an elected office in any
     Federal, Pennsylvania, or other
     state or local government?
      Yes ___   No ___
*125
  a. If yes, please explain: _________
104. Have you or anyone close to you
     ever held an elected or appointed
     office in any Federal, Pennsylvania
     or other state or local government?
      Yes ___   No ___
  a. If yes, please explain: ________
105. What are your general feelings
     about politicians? ________________
106. Do you believe that politicians have
     good intentions when they do
     things?
      Yes ___   No ___
  a. Please explain: ___________________
107. Do you believe that politicians say
     things to the public that they think
     the public wants to hear?
      Yes ___   No ___
  a. Please explain: _________________
108. Do you feel that just because people
     are in a position of power or the
     public spotlight, they should not be
     entitled to the same rights as private
     citizens?
      Yes ___   No ___
  a. Please explain: ___________________
109. Would you have any difficulty sitting
     as a juror in a case that dealt with a
     politician and allegations of perjury?
      Yes ___   No ___
  a. If yes, please explain: _________
110. How do you feel about elected officials
     being able to raise large sums
     of money as campaign contributions?
     ___________________________________
111. How do you feel about persons who
     contribute sums of money as campaign
     contributors? ___________________
112. What are your personal opinions, if
     any, regarding the honesty and integrity
     of elected lawmakers, including
     members of the federal and state
     senate and house of representatives?
     ___________________________________
113. Have your opinions concerning the
     honesty and integrity of elected officials
     changed since the impeachment
     of President Clinton?
      Yes ___   No ___
  a. If yes, please explain: __________
114. Have you or any member of your
     family ever contributed to any fund
     for the benefit of State Representative
     Frank Serafini or his family
     over the past twenty (20) years?
      Yes ___   No ___
  a. If yes, please explain: ____________
115. Have you, or any member of your
     family attended any fund raisers,
     rallies, receptions, or other functions
     in support of or in honor of State
     Representative Frank Serafini in the
     past twenty (20) years?
      Yes ___   No ___
  a. If yes, please explain: __________
116. Have you or any member of your
     family or close friends ever worked
     for or had a business association
     with any of the following? (Check
     all that apply.)
      Empire Sanitary Landfill              ____
      USA Waste Services                    ____
      Alliance Landfill                     ____
      Keystone Sanitary Landfill            ____
  a. If you checked any of the above,
     please explain: ___________________
117. Can you think of any situation where
     a politician should be denied a right
     or privilege held by the public-at-large?
     __________________________________
  a. Please list and explain: ________
118. Can you think of any situation where
     persons who are wealthy should be
     denied a right or privilege held by
     the public-at-large or should be held
     to standards different than those applicable
     to the public at large?
      Yes ___   No ___
  a. Please list and explain: __________
119. Do you believe that people who have
     money tend to "get away with
     things"?
      Yes ___   No ___
*126
  a. If yes, please explain: ____________
120. What are your opinions, if any, concerning
     persons who inherit or are
     given wealth? ________________
121. Some people have very strong feelings
     on the issue of politicians. If
     you have such feelings, would it be
     difficult for you to return a verdict
     of "Not Guilty" for the accused, if
     the government did not prove its
     case beyond a reasonable doubt?
      Yes ___   No ___
  a. If yes, please explain: ___________
122. Do you or does any relative or friend
     know or have any connection (personal,
     business, or social) with any of
     the individuals on the attached list?
      Yes ___   No ___
  a. If yes, please list their names and
     explain how you or your relative or
     friend knows the individual(s). ___
123. Other than the possible length of the
     trial, do you have any other concerns
     or reservations about sitting as a
     juror in this case?
      Yes ___   No ___
  a. If yes, what are those concerns or
     reservations? ______________________
124. Is there anything in your life either
     at home or at work that might cause
     you to be distracted if you were
     selected to sit as a juror on this
     case?
      Yes ___   No ___
  a. Please explain: ________________
125. Is there anything you can think of
     that you should bring to the court's
     attention regarding your service as a
     juror on this case?
      Yes ___   No ___
  a. If yes, please explain: __________
126. Have you consulted with anyone in
     order to complete this questionnaire?
      Yes ___   No ___
  a. If yes, with whom did you consult
     and why? ___________________________
127. As a result of filling out this questionnaire,
     have you formed any fixed
     opinions about this case?
      Yes ___   No ___
  a. If yes, what are those opinions?
     __________________________________
128. The impeachment trial of President
     Clinton has received a great deal of
     publicity throughout the United
     States. Is there anything about that
     case which might affect your ability
     to render an impartial verdict based
     solely on the evidence and the
     Court's instructions on the law?
      Yes ___   No ___
  a. Please explain: __________________
129. Do you have any impression, opinion
     or belief concerning the police, the
     Department of Justice, the United
     States Attorney's Office or law enforcement
     agencies generally, or
     concerning any other matter that
     would lead you to favor or oppose
     the government in this case?
      Yes ___   No ___
  a. Please explain: _______________
130. Do you have any impression, opinion
     or belief concerning the defendant
     that would lead you to favor or oppose
     the defendant in this case?
      Yes ___   No ___
  a. Please explain: __________________
131. If you were representing the prosecution
     in this case, is there any reason
     why you would not want to have
     the case decided by someone with
     your beliefs, background or frame of
     mind?
      Yes ___   No ___
  a. Please explain: _________________
132. If you were representing the defendant
     in this case, is there any reason
     why you would not want to have the
     case decided by someone with your
*127
     beliefs, background or frame of
     mind?
      Yes ___   No ___
  a. Please explain: _________________
133. If there any other matter which you
     should call to the Court's attention,
     which may have any bearing on your
     qualifications as a juror or which
     may affect your ability to render an
     impartial verdict based solely on the
     evidence and the Court's instructions
     on the law?
      Yes ___   No ___
  a. Please explain: ______________
134. Based upon what you have heard
     about this case, do you have any
     impression, opinion or belief that
     would lead you to believe the defendant
     is guilty or innocent?
      Yes ___   No ___
135. Under the law, facts are for the jury
     to determine and the law is for the
     judge to determine. You are required
     to accept the law as the judge
     explains it to you even if you do not
     like the law or disagree with it, and
     you must determine the facts according
     to those instructions.
     Would you have any difficulty following
     this rule?
      Yes ___   No ___
  a. Please explain: ___________________
136. Under the law, a defendant need not
     testify. If a defendant does not testify,
     the jury may not consider that
     fact in reaching a decision as to guilt
     or innocence. Would you have any
     difficulty in following this rule?
      Yes ___   No ___
  a. Please explain: ________________
137. Under the law, a person cannot be
     convicted of perjury unless the government
     proves beyond a reasonable
     doubt that the question as the defendant
     understood it was falsely answered.
     Would you have any difficulty
     following this rule?
      Yes ___   No ___
  a. Please explain: _______________
138. The indictment itself is not evidence
     against a defendant. It is simply
     the written document by which the
     government notifies the defendant of
     the charges against him. You may
     not infer any wrongdoing on the
     part of a person merely because he
     has been indicted. Would you have
     any difficulty following this rule?
      Yes ___   No ___
  a. Please explain: ________________
139. Every defendant is presumed innocent
     and cannot be convicted unless
     the jury, unanimously and based
     solely on all the evidence in this
     case, decides that his guilt has been
     proven beyond a reasonable doubt.
     Would you have any difficulty following
     this rule?
      Yes ___   No ___
  a. Please explain: _____________________
140. Do you have any questions, and if
     so, what questions do you have?
     ______________________________
I declare under penalty of perjury that the answers I have given are true and correct to the best of my knowledge and belief.
        JUROR'S NUMBER:
        SIGNATURE: _______________________
NOTES
[1]  The government's objections have been helpful in screening the questionnaire, but I have not limited my review to only those questions to which objections have been interposed. As recognized in United States v. McDade, 929 F. Supp. 815 (E.D.Pa.1996), the trial court has an independent obligation to scrutinize juror questionnaires to assure that the inquiries are reasonably calculated to yield meaningful information without intruding too deeply into personal concerns.
[2]  As a general rule, "close friends" will be deleted from each question. The phrase is too ambiguous to require jurors to answer under penalty of perjury whether some acquaintance has something in his or her background that is the subject matter of an inquiry. Also, the terms "relative," "family," and "immediate family member" will be limited to mean spouse, child or parent.
[3]  Question 47 will be modified to ask whether the prospective juror has any moral, philosophical or religious beliefs that would make it difficult for him or her to sit in judgment of the defendant.
[4]  The government, relying upon United States v. Wooton, 518 F.2d 943 (3d Cir.), cert. denied, 423 U.S. 895, 96 S. Ct. 196, 46 L. Ed. 2d 128 (1975), generally objects to any inquiries that concern such substantive matters as the presumption of innocence, burden of proof, etc. Wooton held that it was not an abuse of discretion to refuse to inquire into such matters during voir dire. But Wooton did not hold that such inquiries are foreclosed. In the exercise of my discretion, I believe the jurors should answer general inquiries with respect to the matters covered in questions 135 (juror must follow the law whether he or she disagrees with it), 136 (no adverse inference when defendant does not testify), 137 (burden of proof beyond a reasonable doubt), 138 (indictment does not give rise to any inference of wrongdoing), and 139 (presumption of innocence).

The government has requested that, if questioning on "substantive areas" were allowed, it be accorded the opportunity to submit questions covering such topics as circumstantial evidence versus direct evidence, proof beyond a reasonable doubt versus proof to a mathematical certainty, and other topics usually covered in legal instructions. Given the existing time constraints, the government will be given the opportunity to submit proposed voir dire questions to the Court for inclusion in the oral voir dire portion of jury selection.
[5]  The instructions to the questionnaire will advise the jurors that they have the right to decline to answer a question they consider to be unduly intrusive or that calls for personally embarrassing information. The jurors will be further advised that the court and counsel will meet with the jurors individually with respect to questions that they have refused to answer so that their answers can be obtained privately.

